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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

RONICCA ELLIS,

                                     Plaintiff,
                                                                              Case # 16-CV-6788-FPG
v.
                                                                              DECISION AND ORDER

WILLIE C. WASHINGTON, ET AL.,

                                     Defendants.


                                                INTRODUCTION

           Plaintiff Ronicca Ellis brings this action pursuant to 42 U.S.C. § 1983 against Defendant

Willie C. Washington, a Monroe County employee. Additionally, she raises negligence and state

law sexual harassment claims against Monroe County, the Monroe County Work Experience

Program (“WEP”), Rochesterworks, Inc., 691 St. Paul Street LLC, and the Monroe County

Department of Human Services. Plaintiff originally filed this suit in the Monroe County Supreme

Court. Defendants Monroe County, the Monroe County Department of Human Services, and

Monroe County Work Experience Program removed the action to federal court on December 6,

2016. ECF No. 1. On October 18, 2017, all Defendants except for Washington moved for partial

judgment on the pleadings. ECF No. 30. Plaintiff responded on November 20, and Defendants did

not reply. For the reasons stated below, Defendants’ Motion is GRANTED in part and DENIED

in part.

                                                  BACKGROUND 1

           Plaintiff participated in Monroe County’s WEP, an initiative providing work experience to

individuals receiving public assistance from the County. Her participation in WEP required her to


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    The following facts are taken from Plaintiff’s Complaint (ECF No. 1-2).

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work as a janitorial trainee and was a mandatory condition of receiving public assistance. On July

18, 2016, Plaintiff attended a group orientation at her assigned WEP site, the Monroe County

Department of Social Services Building, located at 691 St. Paul Street in Rochester, New York.

         Plaintiff alleges that Defendant Washington, her supervisor, made sexually offensive

gestures to her in front of other Monroe County supervisors during the orientation. Plaintiff also

alleges that Monroe County was aware of previous sexual assault and harassment incidents

involving Washington. Nonetheless, County employees at the orientation advised Plaintiff and

her fellow WEP participants to report any instances of sexual harassment to Washington.

         On August 3, 2016, Plaintiff was working a morning shift at the Social Services Building

when Defendant Washington asked Plaintiff to accompany him to the supply room so that she

could help him gather janitorial supplies. Once Washington and Plaintiff were inside the supply

room, Washington blocked the doorway and raped her. At the time of the rape, Washington told

Plaintiff that no one would believe her if she reported him and that she’d lose her public benefits

if she did so. She nonetheless reported the incident to the police and obtained medical treatment

afterwards.

                                                   DISCUSSION

I.       Legal Standard

         Defendants have moved under Federal Rule of Civil Procedure 12(c) for judgment on the

pleadings. Rule 12(b)(6) standards 2 apply in deciding a Rule 12(c) motion. Burnette v. Carothers,

192 F.3d 52, 56 (2d. Cir 1999). Accordingly, the Court “must accept as true all of the factual

allegations contained in the complaint,” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 572 (2007), and


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  Interestingly, Plaintiff argues that Defendants’ Motion should be treated as one for summary judgment because it
includes material outside the pleadings, but then contradicts that argument later in her brief. Defendants did not attach
any outside material to their Motion, so the Court disregards Plaintiff’s argument and analyzes Defendants’ Motion
under Rule 12(b)(6).

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“draw all reasonable inferences in Plaintiff’s favor,” Faber v. Metro. Life Ins. Co., 648 F.3d 98,

104 (2d Cir. 2011). The Complaint must contain sufficient factual matter, accepted as true, to “state

a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. These factual allegations

“must be enough to raise a right to relief above the speculative level,” id. at 545, and “allow[] the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged,”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

II.    Standing

       Plaintiff makes a standing argument that the Court must decide before it can address the

other claims. See Warth v. Seldin, 442 U.S. 490, 498 (1975); Cty. of Clinton v. Warehouse at Van

Buren St., Inc., 496 B.R. 278, 280 (N.D.N.Y. 2013). Plaintiff argues—erroneously and without

citing any caselaw—that Monroe County lacks standing to dismiss an official capacity § 1983 suit

against Washington, who did not join the other Defendants’ Motion for Judgement on the

Pleadings. Plaintiff’s argument disregards the axiom that claims against a government actor in his

official capacity equate to claims against the government entity itself and do not subject the

individual actor to liability. See Kentucky v. Graham, 473 U.S. 159, 156 (1978). Accordingly, it

is proper for Monroe County—the government entity behind Washington—to move to dismiss the

official capacity claim against him. See, e.g., Blount v. Miss. Dep’t of Human Servs., No. 3:14-cv-

336-DPJ-FKB, 2016 WL 4385059, at *4 (S.D. Miss. Aug. 16, 2016); Ford v. Willson, No. 93 C

20342, 1995 WL 360458, at *1 n.2 (N.D. Ill. June 6, 1995) (“The City has standing to bring such

a motion because it has been named as a defendant via the naming of [the City’s employee] in his

official capacity.”). Monroe County therefore has standing to move to dismiss the claims against

Washington in his official capacity.




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III.   Unopposed Dismissals

       Defendants move to dismiss Plaintiff’s claims against the Monroe County Department of

Human Services, which is merely an administrative arm of the County and therefore cannot be

sued under New York Law. See Hall v. City of White Plains, 185 F. Supp. 2d 293, 303 (S.D.N.Y.

2002). Plaintiff does not oppose this argument. See ECF No. 35 at 2. Plaintiff also concedes that

the WEP is not a separate legal entity subject to suit and that RochesterWorks, Inc. does not employ

Washington or Plaintiff and that there is therefore no theory of recovery against it. Consequently,

the claims against the Monroe County Department of Human Services, the WEP, and

RochesterWorks, Inc. are DISMISSED.

IV.    Official Capacity Suit Against Washington

       The Complaint does not specifically allege whether Washington is liable in his individual

or official capacity, so the Court must assume that Plaintiff intended to sue him in both capacities.

See Oliver Sch., Inc. v. Foley, 930 F.2d 248, 252 (2d Cir. 1991). The individual claims against

Washington are not relevant to this Motion, so the Court will discuss only the official capacity

claims against him.

       The official capacity claim against Washington is functionally a claim against Monroe

County. See Graham, 473 U.S. at 156. Monroe County in turn can be “held liable under Section

1983 if the deprivation of the plaintiff’s rights under federal law is caused by a governmental

custom,” policy, or practice. Jones v. Town of East Haven, 691 F.3d 72, 80 (2d Cir. 2012) (citing

Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 690-91 (1978)). Plaintiff bases her Monell claim on

a “deliberate indifference” theory of recovery, which equates a municipality’s “policy of inaction

in light of notice that its program will cause constitutional violations” with “a decision by the city

itself to violate the Constitution.” Connick v. Thompson, 563 U.S. 51, 61 (2011).



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       Plaintiff’s Complaint plausibly alleges a Monell violation. It alleges that the County was

aware of sexual assault and harassment incidents involving Washington and that he harassed

Plaintiff before the alleged rape. Despite the County’s knowledge of Washington’s conduct,

County officials blatantly disregarded this knowledge and specifically told WEP participants to

report incidents of sexual misconduct to Washington, effectively placing the fox in charge of the

hen house. These allegations establish at the pleading stage that Monroe County exhibited a policy

of inaction in light of notice that its program would cause constitutional violations.

       Because municipalities are not liable for their employees’ purely private acts, Plaintiff must

also show that Washington acted under “color of law.” See Claudio v. Sawyer, 675 F. Supp. 2d

403, 410 (S.D.N.Y. 2009) (“Without a state actor, there can be no independent constitutional

violation” and a “claim against [a municipality] will necessarily fail.”) Defendants argue that,

even if Plaintiff established a custom, policy, or practice, the “§1983 claim [must] still fail because

Defendant Washington was not acting under color of law when he allegedly sexually assaulted

Plaintiff.” ECF No. 30-2 at 8.

       An official acts under color of state law when his actions are “made possible only because

the wrongdoer is clothed with the authority of state law.” U.S. v. Walsh, 194 F.3d 37, 51 (2d

Cir.1999). Washington allegedly used his apparent authority as a County supervisor when he lured

Plaintiff to the janitor’s closet, raped her, and threatened to terminate her benefits if she reported

his actions or refused to acquiesce in his demands. His supervisory position with the County thus

aided his wrongful conduct and, accordingly, Plaintiff has plausibly alleged that Washington acted

under color of law.




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V.     Claims Against 691 St. Paul Street, Inc.

       Plaintiff raises a negligence claim against 691 St. Paul Street LLC, which leased the

Monroe County Department of Social Services Building to the County. Defendants argue that 691

St. Paul was not Plaintiff or Washington’s employer, so “it is impossible to determine under what

theory Plaintiff claims” it was liable. ECF No. 30-2 at 6. The Complaint, however, alleges that

691 St. Paul Street was “responsible for maintaining, overseeing, and otherwise securing the

building while the Monroe County Work Experience Program personnel, including defendant

Washington, were engaged in Monroe County business at said building.” ECF No. at 5.

Accordingly, it is evident from the Complaint that Plaintiff’s negligence theory as to Defendant

691 St. Paul Street, LLC is that its security practices were inadequate. Discovery may indicate

otherwise, but Plaintiff has stated a claim at the initial pleading stage.

                                          CONCLUSION

       For the reasons stated, Defendant’s Motion for Judgment on the Pleadings (ECF No. 30)

is DENIED in part and GRANTED in part. The claims against RochesterWorks, the WEP and the

Monroe County Department of Human Services are dismissed, and the claims against Willie

Washington in his official capacity and 691 St. Paul Street LLC survive.

       IT IS SO ORDERED.

Dated: July 25, 2018
       Rochester, New York

                                               ______________________________________
                                               HON. FRANK P. GERACI, JR.
                                               Chief Judge
                                               United States District Court




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